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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


  PETER ROSE,

                                  Plaintiff,            C.A. No. 2:16-cv-03681-PBT
             v.

  JOHN DOWD,

                                  Defendant.

                          DECLARATION OF MARTIN GARBUS

       MARTIN GARBUS, pursuant to the provisions of 28 U.S.C. § 1746, states:

       1.         I am of counsel to the firm of Eaton & Van Winkle LLP and attorney for

Plaintiff Peter Rose (“Rose”). I have been admitted pro hac vice in this Court. I have

personal knowledge of the facts stated in this declaration.

       2.      This declaration is in opposition to the motion in the above-captioned

lawsuit, pursuant to Federal Rule of Civil Procedure (“FRCP”) 33, 34, 36 and 37, seeking

to compel certain discovery, made by Defendant John Dowd (“Dowd”), President Donald

Trump’s chief lawyer in resisting the investigations into him and his associates by

Special Counsel Robert Mueller, the Senate and House Intelligence Committees, Senate

Judiciary Subcommittee on Crime and Terrorism, and House Oversight and Government

Reform Committee.

       3.      Dowd libeled Rose in one of the most awful ways when he said, point

blank, “Michael Bertolini, you know, told us that he not only ran bets but he ran

young girls for him down at spring training, ages 12 to 14. Isn't that lovely. So that's

statutory rape every time you do that.”
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       4.      Dowd made four specific, factual allegations: (i) that Rose slept with 12 to

14 year olds; (ii) that in doing so, he violated criminal laws constituting statutory rape;

(iii) that he trafficked these 12 to 14 year olds; and (iv) it occurred during spring training.

Every single factual allegation he made is libelous and false.

       5.      Dowd does not contend that he had any personal knowledge of these

alleged facts. He relies solely on the words of Michael Bertolini, who states that he never

said any of those things. For the last six months, Dowd and his investigators have scoured

the country to find any woman who would support these allegations. He found none. He

found one woman (“Doe”) who claims only to have known Rose in Cincinnati -- not

down at spring training -- when she was 14 or 15, and that she had a sexual relationship

with Rose before she turned sixteen. She studiously does not say when she had sex with

him over that two year span. This woman, who has never before surfaced, makes these

allegations (according to Dowd) more than 40 years later. Dowd does not claim there are

any witnesses to any of these alleged acts or that any person other than the woman had

personal knowledge of them. Dowd’s allegations are totally false.

       6.      With respect to Dowd’s several libels against Rose, Doe does not refer to

any. She does not refer to spring training; she does not claim he trafficked her or other

women; she does not claim to have been 12, 13 or 14 years old.

       7.      Doe is no stranger to lying. She has been previously convicted of two theft

offenses. She was also indicted for embezzlement of monies from her employer, which

was a third degree felony. She pleaded no contest, was found guilty, and sentenced.




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           8.       Dowd has made allegations against special counsel Robert Mueller and

U.S. attorneys, who are also objects of his libels. Most recently, Dowd, Donald Trump’s

chief lawyer, circulated a racist and bigoted email to, reportedly, more than two dozen

people, including a senior official at the Department of Homeland Security and several

journalists. That email reportedly contended, among other things, that (a) “You cannot be

against General Lee and be for General Washington,” … “there literally is no difference

between the two men.”; (b) Black Lives Matter is being directed by terrorists; (c)

compared secessionists to the Founding Fathers; and (d) the Charlottesville protestors

should “go back to the ghettos and do raise their children and rebuild places like

Detroit.”1 A New York Times article discussing the email can be found at

https://www.nytimes.com/2017/08/16/us/politics/trump-lawyer-email-race-

charlottesville.html?mcubz=1.

           9.       There is a long history of Dowd’s malice toward Rose. He has libeled and

attempted to bully Pete Rose in other instances, in the same way he is doing here; and in

the same way he has tried to lie about and bully other people, including some of the most

respected law enforcement officers in the country.

           10.      Ever since Rose was placed on MLB’s Ineligible List, Dowd has sought to

burnish his own reputation at Rose’s expense and made it his personal mission to prevent

Rose from ever being reinstated or elected to the Hall of Fame. He will do or say

anything to accomplish his mission.

           11.      That is why Dowd made up his story about Rose, as I believe the proof

will show. In discovery, Dowd has admitted that (i) he made the defamatory per se

statements about Rose based on what Mr. Bertolini had (allegedly) told him; (ii) he took
1
    The subject line of the email was “The Information that Validates President Trump on Charlottesville”.


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no steps to verify the truth or falsity of what Bertolini had (allegedly) told him; and (iii)

he does not know anyone whom Bertolini (allegedly) “ran” for Rose. Attached hereto as

Exhibit A is a true and correct copy of Dowd’s Response to Rose’s Second Set of

Interrogatory Requests; see, Responses 2-5.

        12.     Bertolini, through his lawyer, has publicly denied that he told Dowd any

such thing. As Dowd himself has admitted in his interrogatory responses, “I cannot recall

verbatim the words Mr. Bertolini [allegedly] used”. Ex. A, Response No. 1.

        13.     This is not the first time Dowd has publicly lied about Rose to discourage

his reinstatement with MLB. Reportedly, Bud Selig, MLB’s former Commissioner, was

seriously considering Rose’s request for reinstatement and met with Rose on November

25, 2002. Soon after, on the very same day in December, 2002, the NY Daily News and

the NY Post both ran stories carrying quotes from Dowd. To the Daily News, he admitted

he did not find any evidence that Rose bet on the Cincinnati Reds to lose. But to the Post,

he falsely claimed he had “reliable evidence” on that issue that he did not have enough

time to put in his report.

        14.     Nor is this the first time Dowd has made baseless, unhinged, reprehensible

comments about people relating to a subject in which he was too deeply invested. Dowd

was defending Raj Rajaratnam in a suit brought against him by U.S. Attorney Preet

Bharara’s office for fraud and conspiracy. During the trial, he libeled both the Wall Street

Journal and Mr. Bharara (who was fired by Mr. Trump) for no reason at all and with no

facts to back up his allegations. He accused Mr. Bharara of attempting to smear

witnesses, saying he was “scared shitless”, and of “feed[ing] his whores at the WSJ” with

information. His full statement is set forth below. Peter Lattman, a former reporter for the




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New York Times and Wall Street Journal, covered the trial and recently posted online the

email Dowd had sent to Chad Brad of the WSJ during the trial.

The email said:

     This is the worst piece of whoring journalism I have read in a long time. How
     long are you going to suck Preet’s teat?
     All to hurt a decent, honest witness, Brodsky could not lay a glove on.
     It did not work. The jury was not impressed by the worst cross examination ever
     delivered.
     So in the style of Preet, try to smear him by working the sycophants in the back
     of the Courtroom. He learned from Schumer in the Senate…
     Preet is scared shitless he is going to lose this case so he feeds his whores at the
     WSJ.
     What a disgrace for an otherwise great paper
     https://twitter.com/peterlattman/status/876076718766919681

Raj Rajaratnam was convicted on all fourteen counts.

       15.    Dowd’s penchant for baseless accusations, exploitation and duplicity (as it

pertains to his own conduct in this case) is similar to accusations of Mr. Trump (showing

the same personality traits as Mr. Trump). They were recently on full, public display,

when he interjected himself into reports about the FBI’s raid of the home of Paul

Manafort (former head of the Trump campaign but a man he does not even represent). In

a 3:48 a.m. email he reportedly sent a Wall Street Journal reporter, among his notable

statements was his charge that the FBI's request for a search warrant was an

"extraordinary invasion of privacy". Dowd also reportedly wrote:

       "Thus, it appears the search warrant here was obtained by a gross abuse of
       the judicial process by the special counsel's office. In addition, given the
       obvious unlawful deficiencies, this extraordinary invasive tool was
       employed for its shock value to try to intimidate Mr. Manafort and bring
       him to his needs (sic)," Dowd added. "These methods are normally found
       and employed in Russia not America."

http://www.washingtonexaminer.com/trump-lawyer-john-dowd-robert-muellers-team-

using-tactics-employed-in-russia-not-america/article/2631186



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       16.     Dowd’s volatility has also been on public display. When CNBC sought to

interview him after the jury convicted Raj Rajaratnam on all fourteen counts, he “flipped

the bird” to the cameraman. That obscenity is viewable at

https://www.youtube.com/watch?v=ZDvbN3oyaMk

       17.     We believe the proof will show that Dowd’s investigator, as she did with

other people who were approached, lied to Doe in order to get a declaration that is legally

meaningless. The declaration was obtained and publicly filed solely in an effort to

intimidate and hurt Pete Rose. It is part of the continuing libel waged by Dowd. His

relentlessness here is like the bigotry and falsities Dowd rendered earlier in August of this

year as well as the falsities he has uttered against law enforcement quite recently.

       18.     Because (I believe the proof will show) Dowd made up his story about

Rose, Dowd’s investigators have been desperately combing the country to find any dirt

on Rose. That is because, as Dowd has already admitted, he had no valid basis for his

false and defamatory per se statements about Rose.

       19.     In seeking any dirt they can publicly smear on Rose, several of Rose’s ex-

girlfriends, his ex-wives and other people in his life have advised that they have been

aggressively approached and interrogated by those investigators. Two such people were

told they were already on the witness list, so they should just talk (to the investigator).

Those were lies. Neither person is a witness named on Dowd’s or Rose’s FRCP initial

disclosures.

       20.     Given the swiftness with which the press reported on Dowd’s motion to

compel, and the nature of the contentions of the woman identified as “Doe”, it is my

belief that Dowd (or his lawyers) provided the press with advance notice of the filing, to




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try to publicly embarrass and humiliate Rose. It is also my belief that his motion is

baseless and only a pretext for making Doe’s allegations public.

        21.      We have known about Doe’s allegations for months, because Dowd’s

counsel notified us of her allegations within days after she signed her declaration. Her

declaration (although clearly not in any way probative of the truth or falsity of Dowd’s

defamatory per se accusations against Rose, as they must be to meet constitutional

muster) is the only thing they have ever come up with in their efforts to discredit Rose

and deter him from seeking recourse for Dowd’s reckless statements. It is my belief that

her declaration was coerced or induced given, among other things, the aggressive tactics

that have been reported to me about Dowd’s investigators. Rose vehemently denies her

allegations.

        22.      Dowd’s smear tactics have, unfortunately, been successful to some degree.

In direct response to his public filing of the Doe declaration, and the media reports

surrounding it, a Philadelphia sports roast with Rose as the guest of honor was cancelled,

as was an autograph signing to be held before his induction into the Philadelphia Wall of

Fame, which was also cancelled.

        23.      Accompanying my declaration is the declaration of someone close to Doe

for many years. Doe told him about Rose early in their relationship. She told him that she

was 18 when they dated (not 15); and she never said that she had sexual relations with

him before she was 18.2 This strengthens my belief that her declaration was coerced or

induced, along with the inexplicable passage of over 40 years before coming forward.




2
 Rose did not leave Cincinnati to join the Philadelphia Phillies until 1979, when Doe would have
purportedly been 20 years old.


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       24.    Attached hereto as Exhibit B is a true and correct copy of Rose’s response

to Dowd’s Third Set of Requests for Admissions, which was omitted from his moving

papers, and is referenced in the accompanying brief in opposition to Dowd’s motion.

       I declare under the penalty of perjury that the foregoing is true and correct.

Executed on August 25, 2017 in New York, New York.


                                           /s/ Martin Garbus
                                               Martin Garbus




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